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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF GEORGIA
                                  BRUNSWICK DIVISION

                                                      :
JULIO MEDINA ARREGUIN, JUAN                           :
ARELLANO MALAGON,                                     :
EDUARDO FLORES MAYDON, JOSE                           :
GOMEZ LOPEZ, MAXIMINO JUAREZ                          :
SANCHEZ, JOSE LOPEZ GOMEZ, CRUZ                       :
LUNA VILLELA, AGUSTIN OVIEDO                          : Civil Action No. 2:18-cv-00133-LGW-BWC
OLVERA, LUIS PATINO MENDIOLA,                         :
ESGAR PEREZ FLORES, ASAEL                             :
RODRIGUEZ JUAREZ, MIGUEL SANCHEZ                      :
CERVANTES, and MARIO SILGUERO                         :
REYES,                                                :
                                                      :
                      Plaintiffs,                     :
                                                      :
v.                                                    :
                                                      :
MANUEL SANCHEZ,                                       :
                                                      :
                     Defendant.                       :
                                                      :

          PLAINTIFFS’ APPLICATION TO CLERK FOR ENTRY OF DEFAULT

     Pursuant to Rule 55(a) of the Federal Rules of Civil Procedure, Plaintiffs apply to the Clerk

for entry of default against Defendant, Manuel Sanchez.

     As reflected in the Proof of Service filed with this Court on November 26, 2018, (Doc. 4),

the summons and complaint in this matter were served personally on Manuel Sanchez on

November 15, 2018.

     Defendant was required to serve his answer or otherwise plead within 21 days of service, i.e.,

no later than December 6, 2018. As of the date of this Application, Defendant has not filed a

responsive pleading. Thus, entry of default against Defendant is appropriate at this time.



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This 11th day of December, 2018.         Respectfully submitted,

                                         /s/ Solimar Mercado-Spencer
                                         Solimar Mercado-Spencer
                                         Lead Counsel
                                         Georgia Bar No. 686614
                                         Georgia Legal Services Program
                                         104 Marietta Street NW, Suite 250
                                         Atlanta, GA 30303
                                         Phone: (404) 463-1633
                                         Fax:     (404) 463-1623
                                         E-mail: smercado-spencer@glsp.org

                                         /s/ Lisa J. Krisher
                                         Lisa J. Krisher
                                         Georgia Bar No. 429762
                                         Georgia Legal Services Program
                                         104 Marietta Street NW, Suite 250
                                         Atlanta, GA 30303
                                         Phone: (404) 463-1633
                                         Fax:     (404) 463-1623
                                         E-mail: lkrisher@glsp.org

                                         Attorneys for Plaintiffs




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                              CERTIFICATE OF SERVICE

   I HEREBY CERTIFY that on December 11, 2018, a true and correct copy of the foregoing

PLAINTIFFS’ APPLICATION TO CLERK FOR ENTRY OF DEFAULT was sent to

Defendant Manuel Sanchez, via U.S. Mail, with adequate postage, to:

              Manuel Sanchez
              251 Leon A Wildes Rd
              Hazlehurst, GA 31539-7833



                                                  /s/ Solimar Mercado-Spencer
                                                  Counsel for Plaintiffs




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